
408 So. 2d 551 (1982)
Ex parte Donald H. BERRY.
(In re Donald H. Berry v. State of Alabama).
81-145.
Supreme Court of Alabama.
January 8, 1982.
J. D. Quinlivan, Jr., Mobile, for petitioner.
Charles A. Graddick, Atty. Gen., for respondent.
PER CURIAM.
The petition for writ of certiorari, 408 So. 2d 548, is denied.
In denying the petition for writ of certiorari in this case, this Court does not wish to be understood as approving or disapproving the language used or the statements of law made by the Court of Criminal Appeals. Horsley v. Horsley, 291 Ala. 782, 280 So. 2d 155 (1973).
WRIT DENIED.
TORBERT, C. J., and FAULKNER, ALMON, EMBRY and ADAMS, JJ., concur.
